                Case 3:99-cv-02506-SI Document 1854 Filed 09/02/08 Page 1 of 2




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                                                September 2, 2008


The Honorable Susan Illston
United States District Court
for the Northern District of California
450 Golden Gate Avenue, 19th Floor
Courtroom 10
San Francisco, CA 94102

       Re:         Larry Bowoto, et al., v. ChevronTexaco Corporation, Case No. C-99-2506 SI -
                   Plaintiffs' Request for Telephonic Hearing on Trial Issues Arising from Visa Problems


Dear Judge Illston:

        Recognizing that the Court will be unavailable to us for several weeks this month, plaintiffs
seek a telephonic hearing on several matters that must be resolved while the Court is still in session
this week. Because of the problems plaintiffs and their counsel have experienced in obtaining visas to
travel to the United States for the federal court trial and in securing a visa for plaintiffs’ counsel to
trave to Nigeria, plaintiffs will request the following orders from the Court:

       1.          An order permitting plaintiffs to take trial preservation depositions for any plaintiff or
                   witness whom plaintiffs have sought to put on live at trial but for whom they may be
                   unable to secure visas allowing travel to the United States for the upcoming trial;

       2.          In the alternative, an order permitting plaintiffs to present the trial testimony of Nigerian
                   plaintiffs and witnesses through video-conferencing technology;

       3.          An order directing defendants to secure from their Nigerian subsidiary, Chevron
                   Nigerian Limited, a letter or letters inviting plaintiffs’ counsel to come to Nigeria so
                   they can meet with their clients and other witnesses, take trial preservation depositions,
                   and/or present testimony at trial through video-conferencing technology; and
            Case 3:99-cv-02506-SI Document 1854 Filed 09/02/08 Page 2 of 2




       4.      An order continuing from September 15, 2008 to October 13, 2008 the date for
               designating deposition testimony for plaintiff or witness whom plaintiffs have sought to
               put on live at trial but for whom they may be unable to secure visas allowing travel to
               the United States for the upcoming trial. The September 15th date was set by the Court
               during the Case Management Conference on August 25, 2008, as the last date for
               designating such deposition testimony before the then-scheduled September 29th trial.
               The continuance requested would establish the same schedule based on the new trial
               date of October 27th, and would provide plaintiffs with the time they need to make
               further attempts to seek visas, take trial preservation depositions, and/or set up video-
               conferencing technology for trial testimony from Nigeria.

        Because of the importance of having these matters resolved before the Court returns in late
September, plaintiffs request that the Court set a telephonic hearing on these matters this week.
Plaintiffs have asked defense counsel to stipulate to each of the above. Defense counsel Robert
Mittelstaedt has indicated that defendants oppose each of plaintiffs’ requests and further oppose the
request for a hearing.

                                             Very truly yours,

                                                     /s/

                                             Theresa M. Traber
                                             Attorneys for Plaintiffs Larry Bowoto, et al.
